UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DORRELIEN FELIX and MARGALY
FELIX, individually, and JONATHAN C.
MOORE, as Administrator of the ESTATE
OF DAVID FELIX,
                                                            DECLARATION OF
                               Plaintiffs,                  LUNA DROUBI
                                                            IN OPPOSITION TO
       - against -                                          DEFENDANT’S PARTIAL
                                                            MOTION FOR SUMMARY
THE CITY OF NEW YORK, a municipal                           JUDGMENT
entity; HAROLD CARTER and
VINCENTE MATIAS, individually and in                        No. 16-cv-5845 (AJN)
their official capacities as New York City
Police Detectives; the BRIDGE INC., a
domestic not-for-profit organization; and
JANE DOE (as of yet unidentified employee
of the BRIDGE),

                               Defendants.

       LUNA DROUBI, an attorney duly admitted to practice law in the State of New York and

in this court, declares under penalty of perjury:

       1.      I am a partner at Beldock Levine & Hoffman LLP, attorneys for Plaintiffs and am

well-familiar with the facts of this case. I submit this declaration in opposition to Defendants’

second Partial Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56.

       2.      On February 4, 2019, I submitted a declaration in opposition to Defendants’ first

Partial Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56.

       3.      I again reference Exhibits 1 to 24 as identified in my prior declaration for

purposes of this Motion. (Dkt. No. 113.)

       4.      Annexed hereto are true and accurate copies of the following additional exhibits:

       Exhibit 25: Defendants’ Responses and Objections to Plaintiffs’ First Set of Monell
                   Interrogatories, Demands for Production of Documents to the City
                   Defendants


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Exhibit 26: Excerpts from the August 8, 2019 deposition of Chief Theresa Tobin

Exhibit 27: Patrol Guide Procedure Number 221-13, “Mentally Ill or Emotionally
            Disturbed Persons,” effective November 28, 2018

Exhibit 28: Patrol Guide Procedure Number 216-05, “Mentally Ill or Emotionally
            Disturbed Persons,” effective August 1, 2013

Exhibit 29: Patrol Guide Procedure Number 216-05, “Mentally Ill or Emotionally
            Disturbed Persons,” effective January 1, 2000

Exhibit 30: Excerpts from Policing the Emotionally Disturbed PowerPoint Presentations
            from 2013 through 2015

Exhibit 31: Excerpts from Police Student's Guide, Policing the Emotionally Disturbed,
            January 2008

Exhibit 32: Putting Training into Practice: A Review of NYPD’s Approach to Handling
            Interactions with People in Mental Crisis, NYPD Office of the Inspector
            General, January 2017

Exhibit 33: Instructor’s Guide to Policing the Emotionally Disturbed, July 2012

Exhibit 34: Excerpts from Instructor’s Guide to Policing the Emotionally Disturbed,
            2008 through 2014

Exhibit 35: Expert Report of Grace Telesco, Ph.D.

Exhibit 36: Excerpts from Instructor’s Guide, EDP Workshop at John Jay College,
            2010-2014

Exhibit 37: NYPD Training Transcripts of Detectives Harold Carter and Vincente
            Matias

Exhibit 38: Excerpts from the October 23, 2019 Deposition of Captain James Fulton

Exhibit 39: Final Firearms Discharge Report for the Shooting of Gideon Busch, dated
            March 1, 2002

Exhibit 40: Final Firearms Discharge Report for the Shooting of Khiel Coppin, dated
            August 8, 2008



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      Exhibit 41: Final Firearms Discharge Report for the Shooting of Mohammed Bah, dated
                  December 20, 2013

      Exhibit 42: List of Force Investigation Division Reports Regarding EDPs from 2015 to
                  2017

Dated: New York, New York
       April 20, 2020
                                               Respectfully submitted,




                                               Luna Droubi




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